

People v Paterson (2022 NY Slip Op 03182)





People v Paterson


2022 NY Slip Op 03182


Decided on May 12, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 12, 2022

Before: Gische, J.P., Scarpulla, Mendez, Shulman, Higgitt, JJ. 


Ind. No. 2304/16 Appeal No. 15937 Case No. 2021-04136 

[*1]The People of the State of New York, Respondent,
vPhillip Paterson, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Molly Schindler of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Diana J. Lewis of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about October 28, 2021, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6C), unanimously affirmed, without costs.
The court providently exercised is discretion when it granted an upward departure to level three based on clear and convincing evidence establishing the existence of aggravating factors not adequately accounted for by the risk assessment instrument (see People v Gillotti, 23 NY3d 841, 861-862 [2014]). Initially, as defendant concedes, his correct point score should be 105, which is the highest score that supports a level two adjudication. We find that defendant's documented problems with impulse control and propensity for violence are aggravating factors that were not accounted for and were established by clear and convincing evidence. Defendant's significant improvement in conduct and enhanced stability during the approximately four years he spent in the controlled and highly supervised environment of a psychiatric facility do not negate these aggravating factors, which increased the likelihood of reoffense.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 12, 2022








